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                                        G-I HOLDINGS INC.

                    ASBESTOS PERSONAL INJURY SETTLEMENT TRUST
                             DISTRIBUTION PROCEDURES




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                                                      G-I HOLDINGS INC.

          ASBESTOS PERSONAL INJURY SETTLEMENT TRUST DISTRIBUTION
                                PROCEDURES


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                                       G-I HOLDINGS INC.

        ASBESTOS PERSONAL INJURY SETTLEMENT TRUST DISTRIBUTION
                              PROCEDURES

        The G-I Holdings Inc. Asbestos Personal Injury Settlement Trust Distribution Procedures

 (the “TDP”) contained herein provide for resolving all “Asbestos Claims” as defined in the

 Eighth Amended Joint Plan of Reorganization of G-I Holdings Inc. and ACI Inc. Pursuant to

 Chapter 11 of the Bankruptcy Code, dated as of October 5, 2009 (as it may be amended or

 modified, the “Plan”),1 including all asbestos-related personal injury and death claims caused by

 conduct of, and/or exposure to products for which, G-I Holdings Inc. and/or ACI Inc.

 (collectively referred to as “G-I”), and their predecessors, successors, and assigns, have legal

 responsibility as provided in and required by the Plan and the G-I Holdings Inc. Asbestos

 Personal Injury Settlement Trust Agreement (the “PI Trust Agreement”). The Plan and PI

 Trust Agreement establish the G-I Holdings Inc. Asbestos Personal Injury Settlement Trust (the

 “PI Trust”). The Trustees of the PI Trust (the “Trustees”) shall implement and administer this

 TDP in accordance with the PI Trust Agreement.

                                            SECTION I

                                            Introduction

        1.1     Purpose. This TDP has been adopted pursuant to the PI Trust Agreement. It is

 designed to provide fair, equitable and substantially similar treatment for all PI Trust Claims that

 may presently exist or may arise in the future.



 1
         Capitalized terms used herein and not otherwise defined shall have the meanings assigned
 to them in the Plan and the PI Trust Agreement; provided, however, that “Asbestos Claims” as
 defined in the Plan shall be referred to herein as “PI Trust Claims” and “Indirect Trust Claims”
 as defined in the Plan shall be referred to herein as “Indirect PI Trust Claims.”
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        1.2     Interpretation. Except as may otherwise be provided below, nothing in this TDP

 shall be deemed to create a substantive right for any claimant. The rights and benefits provided

 herein to holders of PI Trust Claims shall vest in such holders as of the Effective Date.

                                            SECTION II

                                              Overview

        2.1     PI Trust Goals. The goal of the PI Trust is to treat all claimants equitably. This

 TDP furthers that goal by setting forth procedures for processing and paying G-I’s several share

 of the unpaid portion of the liquidated value of PI Trust Claims generally on an impartial, first-

 in-first-out (“FIFO”) basis, with the intention of paying all claimants over time as equivalent a

 share as possible of the value of their claims based on historical values for substantially similar

 claims in the tort system.2 To this end, the TDP establishes a schedule of eight asbestos-related

 diseases (“Disease Levels”), seven of which have presumptive medical and exposure

 requirements (“Medical/Exposure Criteria”) and specific liquidated values (“Scheduled

 Values”), and five of which have both anticipated average values (“Average Values”) and caps

 on their liquidated values (“Maximum Values”). The Disease Levels, Medical/Exposure

 Criteria, Scheduled Values, Average Values and Maximum Values, which are set forth in

 Sections 5.3 and 5.4 below, have all been selected and derived with the intention of achieving a

 fair allocation of the PI Trust funds as among claimants suffering from different disease

 processes in light of the best available information considering the settlement histories of G-I and

 the rights claimants would have in the tort system absent the bankruptcy.




 2
         As used in this TDP, the phrase “in the tort system” shall not include claims asserted
 against a trust established for the benefit of asbestos personal injury claimants pursuant to section
 524(g) and/or section 105 of the Bankruptcy Code or any other applicable law.


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        2.2     Claims Liquidation Procedures. PI Trust Claims shall be processed based on

 their place in the FIFO Processing Queue to be established pursuant to Section 5.1(a) below.

 The PI Trust shall take all reasonable steps to resolve PI Trust Claims as efficiently and

 expeditiously as possible at each stage of claims processing and arbitration, which steps may

 include, in the PI Trust’s sole discretion, conducting settlement discussions with claimants’

 representatives with respect to more than one claim at a time, provided that the claimants’

 respective positions in the FIFO Processing Queue are maintained and each claim is individually

 evaluated pursuant to the valuation factors set forth in Section 5.3(b)(2) below. The PI Trust

 shall also make every effort to resolve each year at least that number of PI Trust Claims required

 to exhaust the Maximum Annual Payment and the Maximum Available Payment for Category A

 and Category B claims, as those terms are defined below.

        The PI Trust shall liquidate all PI Trust Claims except Foreign Claims (as defined below)

 that meet the presumptive Medical/Exposure Criteria of Disease Levels I–V, VII and VIII under

 the Expedited Review Process described in Section 5.3(a) below. Claims involving Disease

 Levels I–V, VII and VIII that do not meet the presumptive Medical/Exposure Criteria for the

 relevant Disease Level may undergo the PI Trust’s Individual Review Process described in

 Section 5.3(b) below. In such a case, notwithstanding that the claim does not meet the

 presumptive Medical/Exposure Criteria for the relevant Disease Level, the PI Trust can offer the

 claimant an amount up to the Scheduled Value of that Disease Level if the PI Trust is satisfied

 that the claimant has presented a claim that would be cognizable and valid in the tort system.

        PI Trust Claims involving Disease Levels IV–VIII tend to raise more complex valuation

 issues than the PI Trust Claims in Disease Levels I–III. Accordingly, in lieu of liquidating such

 claimant’s claim under the Expedited Review Process, claimants holding claims involving these



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 Disease Levels may alternatively seek to establish a liquidated value for the claim that is greater

 than its Scheduled Value by electing the PI Trust’s Individual Review Process. However, the

 liquidated value of a more serious Disease Level IV, V, VII or VIII claim that undergoes the

 Individual Review Process for valuation purposes may be determined to be less than its

 Scheduled Value, and in any event shall not exceed the Maximum Value for the relevant Disease

 Level set forth in Section 5.3(b)(3) below, unless the claim qualifies as an Extraordinary Claim

 as defined in Section 5.4(a) below, in which case its liquidated value cannot exceed the

 maximum extraordinary value specified in Section 5.4(a) for such claims. Level VI (Lung

 Cancer 2) claims and all Foreign Claims may be liquidated only pursuant to the PI Trust’s

 Individual Review Process.

        Based upon G-I’s claims settlement histories in light of applicable tort law, and current

 projections of present and future unliquidated claims, the Scheduled Values and Maximum

 Values set forth in Section 5.3(b)(3) have been established for each of the five more serious

 Disease Levels that are eligible for Individual Review of their liquidated values, with the

 expectation that the combination of settlements at the Scheduled Values and those resulting from

 the Individual Review Process should result in the Average Values also set forth in that

 provision.

        All unresolved disputes over a claimant’s medical condition, exposure history and/or the

 liquidated value of the claim shall be subject to binding or non-binding arbitration as set forth in

 Section 5.10 below, at the election of the claimant, under the ADR Procedures that are provided

 in Attachment A hereto. PI Trust Claims that are the subject of a dispute with the PI Trust that

 cannot be resolved by non-binding arbitration may enter the tort system as provided in Sections

 5.11 and 7.5 below. However, if and when a claimant obtains a judgment in the tort system, the



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 judgment shall be payable (subject to the Payment Percentage, Maximum Available Payment,

 and Claims Payment Ratio provisions set forth below) as provided in Section 7.6 below.

        2.3     Application of the Payment Percentage. After the liquidated value of a PI Trust

 Claim other than a claim involving Other Asbestos Disease (Disease Level I – Cash Discount

 Payment), as defined in Section 5.3(a)(3) below, is determined pursuant to the procedures set

 forth herein for Expedited Review, Individual Review, arbitration, or litigation in the tort system,

 the claimant shall ultimately receive a pro-rata share of that value based on a Payment

 Percentage described in Section 4.2 below. The Payment Percentage shall also apply to all Pre-

 Petition Liquidated Claims as provided in Section 5.2 below.

        The Initial Payment Percentage has been set at 8.6% and shall apply to all PI Trust

 Voting Claims accepted as valid by the PI Trust, unless adjusted by the PI Trust pursuant to the

 consent of the PI Trust Advisory Committee (the “TAC”) and the Legal Representative for

 Future Claimants (the “Futures Representative”) (who are described in Section 3.1 below)

 pursuant to Section 2.7 or Section 4.2 below, and except as provided in Section 4.3 below with

 respect to supplemental payments in the event the Initial Payment Percentage is changed. The

 term “PI Trust Voting Claims” includes (i) Pre-Petition Liquidated Claims as defined in

 Section 5.2(a) below; (ii) claims filed against G-I in the tort system or actually submitted to G-I

 pursuant to an administrative settlement agreement prior to the Petition Date of January 5, 2001;

 and (iii) all asbestos claims filed against another defendant in the tort system prior to

 October 5, 2009, the date the Plan was filed with the Bankruptcy Court (the “Plan Filing Date”);

 provided, however, that (1) the holder of a claim described in subsection (i), (ii) or (iii) above, or

 his or her authorized agent, actually voted to accept or reject the Plan pursuant to the voting

 procedures established by the Bankruptcy Court, unless such holder certifies to the satisfaction of



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 the Trustees that he or she was prevented from voting in this proceeding as a result of

 circumstances resulting in a state of emergency affecting, as the case may be, the holder’s

 residence, principal place of business or legal representative’s place of business at which the

 holder or his or her legal representative receives notice and/or maintains material records relating

 to his or her PI Trust Voting Claim; and provided further that (2) the claim was subsequently

 filed with the PI Trust pursuant to Section 6.1 below by the Initial Claims Filing Date defined in

 Section 5.1(a) below. The Initial Payment Percentage has been calculated on the assumption that

 the Average Values set forth in Section 5.3(b)(3) below shall be achieved with respect to existing

 present claims and projected future claims involving Disease Levels IV–VIII.

          The Payment Percentage may thereafter be adjusted upwards or downwards from time to

 time by the PI Trust with the consent of the TAC and the Futures Representative to reflect then-

 current estimates of the PI Trust’s assets and its liabilities, as well as then-estimated value of

 then-pending and future claims. Any adjustment to the Initial Payment Percentage shall be made

 only pursuant to Section 4.2 below. If the Payment Percentage is increased over time, claimants

 whose claims were liquidated and paid in prior periods under the TDP shall receive additional

 payments only as provided in Section 4.2 below. Because there is uncertainty in the prediction

 of both the number and severity of future PI Trust Claims, and the amount of the PI Trust’s

 assets, no guarantee can be made of any Payment Percentage of a PI Trust Claim’s liquidated

 value.

          2.4    PI Trust’s Determination of the Maximum Annual Payment and Maximum

 Available Payment. The PI Trust shall estimate or model the amount of cash flow anticipated

 to be necessary over its entire life to ensure that funds shall be available to treat all present and

 future holders of PI Trust Claims as similarly as possible. In each year, the PI Trust shall be



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 empowered to pay out all of the income earned during the year (net of taxes payable with respect

 thereto), together with a portion of its principal, calculated so that the application of PI Trust

 funds over its life shall correspond with the needs created by the estimated initial backlog of

 claims and the estimated anticipated future flow of claims (the “Maximum Annual Payment”),

 taking into account the Payment Percentage provisions set forth in Section 2.3 above and

 Sections 2.7, 4.2 and 4.3 below. The PI Trust’s distributions to all claimants for any given year,

 including any second installments that, pursuant to Section 2.7 below, were not paid to claimants

 whose claims were liquidated prior to the first reconsideration of the Initial Payment Percentage,

 shall not exceed the Maximum Annual Payment determined for that year.

        In distributing the Maximum Annual Payment, the PI Trust shall first allocate the amount

 in question to (a) outstanding Pre-Petition Liquidated Claims, (b) PI Trust Claims involving

 Disease Level I (Cash Discount Payment) that have been liquidated by the PI Trust, (c) any PI

 Trust Claims based on a diagnosis dated prior to the Effective Date that have been liquidated by

 the PI Trust (“Existing Claims”) and (d) Exigent Hardship Claims (as defined in Section 5.4(b)

 below) that have been liquidated by the PI Trust. Should the Maximum Annual Payment be

 insufficient to pay all such claims in full, they shall be paid in proportion to the aggregate value

 of each group of claims and the available funds allocated to each group of claims shall be paid to

 the maximum extent to claimants in the particular group based on their place in their respective

 FIFO Payment Queue. Claims in any group for which there are insufficient funds shall be

 carried over to the next year, and placed at the head of their FIFO Payment Queue. The

 remaining portion of the Maximum Annual Payment (the “Maximum Available Payment”), if

 any, shall then be allocated and used to satisfy all other liquidated PI Trust Claims, subject to the




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 Claims Payment Ratio set forth in Section 2.5 below. Claims in the groups described in (a), (b),

 (c) and (d) above shall not be subject to the Claims Payment Ratio.

        2.5     Claims Payment Ratio. Based upon G-I’s claims settlement histories and

 analysis of present and future claims, a Claims Payment Ratio has been determined which, as of

 the Effective Date, has been set at 85% for Category A claims, which consist of PI Trust Claims

 involving severe asbestosis and malignancies (Disease Levels IV–VIII) and at 15% for Category

 B claims, which are PI Trust Claims involving non-malignant Asbestosis or Pleural Disease

 (Disease Levels II and III).

        In each year, after the determination of the Maximum Available Payment described in

 Section 2.4 above, 85% of that amount shall be available to pay Category A claims and 15%

 shall be available to pay Category B claims that have been liquidated since the Petition Date

 except for claims which, pursuant to Section 2.4 above, are not subject to the Claims Payment

 Ratio. In the event there are insufficient funds in any year to pay the liquidated claims within

 either or both of the Categories, the available funds allocated to the particular Category shall be

 paid to the maximum extent to claimants in that Category based on their place in the FIFO

 Payment Queue described in Section 5.1(c) below, which shall be based upon the date of claim

 liquidation. Claims for which there are insufficient funds allocated to the relevant Category shall

 be carried over to the next year where they shall be placed at the head of the FIFO Payment

 Queue. If there are excess funds in either or both Categories, because there is an insufficient

 amount of liquidated claims to exhaust the respective Maximum Available Payment amount for

 that Category, then the excess funds for either or both Categories shall be rolled over and remain

 dedicated to the respective Category to which they were originally allocated.




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        The 85%/15% Claims Payment Ratio and its rollover provision shall apply to all PI Trust

 Voting Claims as defined in Section 2.3 above (except Pre-Petition Liquidated Claims, Other

 Asbestos Disease claims (Disease Level I – Cash Discount Payment), Existing Claims and

 Exigent Hardship Claims), and shall not be amended until the second anniversary of the date the

 PI Trust first accepts for processing proof of claim forms and other materials required to file a

 claim with the PI Trust.

        In considering whether to make any amendments to the Claims Payment Ratio and/or its

 rollover provisions, the Trustees shall consider the reasons for which the Claims Payment Ratio

 and its rollover provisions were adopted, the settlement histories that gave rise to its calculation,

 and the foreseeability or lack of foreseeability of the reasons why there would be any need to

 make an amendment. In that regard, the Trustees should keep in mind the interplay between the

 Payment Percentage and the Claims Payment Ratio as it affects the net cash actually paid to

 claimants.

         In any event, no amendment to the Claims Payment Ratio to reduce the percentage

 allocated to Category A claims may be made without the unanimous consent of the TAC

 members and the consent of the Futures Representative, and the percentage allocated to Category

 A claims may not be increased without the consent of the TAC and the Futures Representatives.

 The consent process set forth in Sections 5.7(b) and 6.6(b) of the PI Trust Agreement shall apply

 in the event of any amendments to the Claims Payment Ratio. The Trustees, with the consent of

 the TAC and the Futures Representative, may offer the option of a reduced Payment Percentage

 to holders of claims in either Category A or Category B in return for prompter payment (the

 “Reduced Payment Option”).




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        2.6     Indirect PI Trust Claims. As set forth in Section 5.6 below, Indirect PI Trust

 Claims, if any, shall be subject to the same categorization, evaluation, and payment provisions of

 this TDP as all other PI Trust Claims.

        2.7     Payments on an Installment Basis. All claims that are liquidated by the PI Trust

 prior to the conclusion of the first reconsideration of the Initial Payment Percentage described in

 Section 4.2 hereof shall be paid in two installments. The amount of the claimant’s initial

 installment payment shall be fifty percent (50%) of the liquidated value of the claim times the

 Initial Payment Percentage, subject to any other applicable restrictions set forth herein. The PI

 Trust shall make the initial installment payment on a claim when the claim reaches the top of the

 FIFO Payment Queue. The second installment payment shall be paid immediately following the

 conclusion of the first reconsideration of the Initial Payment Percentage in the order that the

 claim entered the FIFO Payment Queue and before the payment of any claim that is liquidated

 after the first reconsideration of the Initial Payment Percentage. The conclusion of the first

 reconsideration of the Initial Payment Percentage shall be deemed to have occurred when one of

 the following occurs: (a) the Trustees, the TAC and the Futures Representative agree that such a

 reconsideration is not necessary; (b) the Trustees reconsider the Initial Payment Percentage and

 conclude that no change is warranted; (c) the Trustees propose a change to the Initial Payment

 Percentage and the TAC and the Futures Representative agree to the change; or (d) the Trustees

 propose a change to the Initial Payment Percentage that the TAC and/or the Futures

 Representative do not agree to and the matter is resolved through the alternative dispute

 resolution process described in Section 7.13 of the PI Trust Agreement. The second installment

 payment shall be in an amount that will result in the total payment to the claimant being equal to

 the liquidated value of the claim times the Payment Percentage in effect at the time of the second



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 installment payment, subject to any other applicable restrictions set forth herein. Following the

 conclusion of the first reconsideration of the Initial Payment Percentage, the Trust shall cease

 paying claims on an installment basis except as otherwise allowed under Section 7.3 hereof.

                                           SECTION III

                                       TDP Administration

        3.1     Trust Advisory Committee and Futures Representative. Pursuant to the Plan

 and the PI Trust Agreement, the PI Trust and this TDP shall be administered by the Trustees in

 consultation with the TAC, which represents the interests of holders of present PI Trust Claims,

 and the Futures Representative, who represents the interests of holders of PI Trust Claims that

 shall be asserted in the future. The Trustees shall obtain the consent of the TAC and the Futures

 Representative on any amendments to this TDP pursuant to Section 8.1 below, and on such other

 matters as are otherwise required below and in Section 2.2(f) of the PI Trust Agreement. The

 Trustees shall also consult with the TAC and the Futures Representative on such matters as are

 provided below and in Section 2.2(e) of the PI Trust Agreement. The initial Trustees, the initial

 members of the TAC and the initial Futures Representative are identified in the PI Trust

 Agreement.

        3.2     Consent and Consultation Procedures. In those circumstances in which

 consultation or consent is required, the Trustees shall provide written notice to the TAC and the

 Futures Representative of the specific amendment or other action that is proposed. The Trustees

 shall not implement such amendment nor take such action unless and until the parties have

 engaged in the Consultation Process described in Sections 5.7(a) and 6.6(a), or the Consent

 Process described in Sections 5.7(b) and 6.6(b), of the PI Trust Agreement, respectively.




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                                             SECTION IV

                              Payment Percentage; Periodic Estimates

         4.1     Uncertainty of G-I’s Personal Injury Asbestos Liabilities. As discussed above,

 there is inherent uncertainty regarding G-I’s total asbestos-related tort liabilities, as well as the

 total value of the assets available to the PI Trust to pay PI Trust Claims. Consequently, there is

 inherent uncertainty regarding the amounts that holders of PI Trust Claims shall receive. To seek

 to ensure substantially equivalent treatment of all present and future PI Trust Claims, the

 Trustees must determine from time to time the percentage of full liquidated value that holders of

 present and future PI Trust Claims shall be likely to receive, i.e., the “Payment Percentage”

 described in Section 2.3 above and Section 4.2 below.

         4.2      Computation of Payment Percentage. As provided in Section 2.3 above, the

 Initial Payment Percentage shall be 8.6% and, subject to Section 2.7 hereof, shall apply to all PI

 Trust Voting Claims as defined in Section 2.3 above, unless the Trustees, with the consent of the

 TAC and the Futures Representative, determine that the Initial Payment Percentage should be

 changed to assure that the PI Trust shall be in a financial position to pay holders of unliquidated

 and/or unpaid PI Trust Voting Claims and present and future PI Trust Claims in substantially the

 same manner.

         In making any such adjustment, the Trustees, the TAC and the Futures Representative

 shall take into account the fact that the holders of PI Trust Voting Claims voted on the Plan

 relying on the findings of experts that the Initial Payment Percentage represented a reasonably

 reliable estimate of the PI Trust’s total assets and liabilities over its life based on the best

 information available at the time, and shall thus give due consideration to the expectations of PI




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 Trust Voting Claimants that the Initial Payment Percentage would be applied to their PI Trust

 Claims.

        The Payment Percentage shall be subject to change pursuant to the terms of this TDP and

 the PI Trust Agreement if the Trustees with the consent of the TAC and Futures Representative

 determine that an adjustment is required. The Trustees shall reconsider the Initial Payment

 Percentage on the first anniversary of the Effective Date unless the Trustees, the TAC and the

 Futures Representative agree that such reconsideration is not necessary. After that first

 reconsideration, no less frequently than once every three (3) years, commencing with the first

 day of January occurring after the Effective Date, the Trustees shall reconsider the then

 applicable Payment Percentage to assure that it is based on accurate, current information and

 may, after such reconsideration, change the Payment Percentage if necessary with the consent of

 the TAC and the Futures Representative. The Trustees shall also reconsider the then applicable

 Payment Percentage at shorter intervals if they deem such reconsideration to be appropriate or if

 requested to do so by the TAC or the Futures Representative.

        The Trustees must base their determination of the Payment Percentage on current

 estimates of the number, types, and values of present and future PI Trust Claims, the value of the

 assets then available to the PI Trust for their payment, all anticipated administrative and legal

 expenses, and any other material matters that are reasonably likely to affect the sufficiency of

 funds to pay a comparable percentage of full value to all holders of PI Trust Claims. When

 making these determinations, the Trustees shall exercise common sense and flexibly evaluate all

 relevant factors. The Payment Percentage applicable to Category A or Category B claims may

 not be reduced to alleviate delays in payments of claims in the other Category; both Categories




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 of claims shall receive the same Payment Percentage, but the payment may be deferred as

 needed, and a Reduced Payment Option may be instituted as described in Section 2.5 above.

        4.3     Applicability of the Payment Percentage. Except as set forth below in this

 Section 4.3 with respect to supplemental payments, no holder of a PI Trust Voting Claim, other

 than a PI Trust Voting Claim for Other Asbestos Disease (Disease Level I – Cash Discount

 Payment) as defined in Section 5.3(a)(3) below, shall receive a payment that exceeds the Initial

 Payment Percentage times the liquidated value of the claim. Except as otherwise provided in

 Section 5.1(c) below for PI Trust Claims involving deceased or incompetent claimants for which

 approval of the PI Trust’s offer by a court or through a probate process is required, no holder of

 any other PI Trust Claim, other than a PI Trust Claim for Other Asbestos Disease (Disease Level

 I – Cash Discount Payment), shall receive a payment that exceeds the liquidated value of the

 claim times the Payment Percentage in effect at the time of payment. PI Trust Claims involving

 Other Asbestos Disease (Disease Level I – Cash Discount Payment) shall not be subject to the

 Payment Percentage, but shall instead be paid the full amount of their Scheduled Value as set

 forth in Section 5.3(a)(3) below.

        If a redetermination of the Payment Percentage has been proposed in writing by the

 Trustees to the TAC and the Futures Representative but has not yet been adopted, the claimant

 shall receive the lower of the current Payment Percentage or the proposed Payment Percentage.

 However, if the proposed Payment Percentage was the lower amount but was not subsequently

 adopted, the claimant shall thereafter receive the difference between the lower proposed amount

 and the higher current amount. Conversely, if the proposed Payment Percentage was the higher

 amount and was subsequently adopted, the claimant shall thereafter receive the difference

 between the lower current amount and the higher adopted amount.



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        There is uncertainty surrounding the amount of the PI Trust’s future assets. There is also

 uncertainty surrounding the totality of the PI Trust Claims to be paid over time, as well as the

 extent to which changes in existing federal and state law could affect the PI Trust’s liabilities

 under this TDP. If the value of the PI Trust’s future assets increases significantly and/or if the

 value or volume of PI Trust Claims actually filed with the PI Trust is significantly lower than

 originally estimated, the PI Trust shall use those proceeds and/or claims savings, as the case may

 be, first to maintain the Payment Percentage then in effect.

        If the Trustees, with the consent of the TAC and the Futures Representative, make a

 determination to increase the Payment Percentage due to a material change in the estimates of

 the PI Trust’s future assets and/or liabilities, the Trustees shall also make supplemental payments

 to all claimants who previously liquidated their claims against the PI Trust and received

 payments based on a lower Payment Percentage. The amount of any such supplemental payment

 shall be the liquidated value of the claim in question times the newly adjusted Payment

 Percentage, less all amounts previously paid to the claimant with respect to the claim.

        The Trustees’ obligation to make a supplemental payment to a claimant shall be

 suspended in the event the payment in question would be less than $100.00, and the amount of

 the suspended payment shall be added to the amount of any prior supplemental

 payment/payments that was/were also suspended because it/they would have been less than

 $100.00. However, the Trustees’ obligation shall resume and the Trustees shall pay any such

 aggregate supplemental payments due the claimant at such time that the total exceeds $100.00.




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                                             SECTION V

                                   Resolution of PI Trust Claims.

        5.1     Ordering, Processing and Payment of Claims.

                5.1(a) Ordering of Claims.

                        5.1(a)(1) Establishment of the FIFO Processing Queue. The PI Trust

 shall order claims that are sufficiently complete to be reviewed for processing purposes on a

 FIFO basis except as otherwise provided herein (the “FIFO Processing Queue”). For all claims

 filed on or before the date six (6) months after the date that the PI Trust first makes available the

 proof of claim forms and other claims materials required to file a claim with the PI Trust (such

 six month anniversary being referred to herein as the “Initial Claims Filing Date”), a claimant’s

 position in the FIFO Processing Queue shall be determined as of the earliest of (i) the date prior

 to January 5, 2001 (the “Petition Date”) that the specific claim was either filed against G-I in the

 tort system or was actually submitted to G-I pursuant to an administrative settlement agreement;

 (ii) the date before the Petition Date that the asbestos claim was filed against another defendant

 in the tort system if at the time the claim was subject to a tolling agreement with G-I; (iii) the

 date after the Petition Date but before the date that the PI Trust first makes available the proof of

 claim forms and other claims materials required to file a claim with the PI Trust that the asbestos

 claim was filed against another defendant in the tort system; (iv) the date after the Petition Date

 but before the Effective Date that a proof of claim was filed by the claimant against G-I in this

 Chapter 11 proceeding; or (v) the date a ballot was submitted on behalf of the claimant for

 purposes of voting to accept or reject the Plan pursuant to the voting procedures approved by the

 Bankruptcy Court.




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         Following the Initial Claims Filing Date, the claimant’s position in the FIFO Processing

 Queue shall be determined by the date the claim is filed with the PI Trust. If any claims are filed

 on the same date, the claimant’s position in the FIFO Processing Queue shall be determined by

 the date of the diagnosis of the asbestos-related disease. If any claims are filed and diagnosed on

 the same date, the claimant’s position in the FIFO Processing Queue shall be determined by the

 claimant’s date of birth, with older claimants given priority over younger claimants.

                         5.1(a)(2) Effect of Statutes of Limitation and Repose. All unliquidated

 PI Trust Claims must meet either (i) for claims first filed in the tort system against G-I prior to

 the Petition Date, the applicable federal, state and foreign statute of limitation and repose that

 was in effect at the time of the filing of the claim in the tort system, or (ii) for claims not filed

 against G-I in the tort system prior to the Petition Date, the applicable federal, state or foreign

 statute of limitation that was in effect at the time of the filing with the PI Trust. However, the

 running of the relevant statute of limitation shall be tolled as of the earliest of (A) the actual

 filing of the claim against G-I prior to the Petition Date, whether in the tort system or by

 submission of the claim to G-I pursuant to an administrative settlement agreement; (B) the

 tolling of the claim against G-I prior to the Petition Date by an agreement or otherwise, provided

 such tolling was still in effect on the Petition Date; or (C) the Petition Date.

         If a PI Trust Claim meets any of the tolling provisions described in the preceding

 sentence and the claim was not barred by the applicable federal, state or foreign statute of

 limitation at the time of the tolling event, it shall be treated as timely filed if it is actually filed

 with the PI Trust within three (3) years after the Initial Claims Filing Date. In addition, any

 claims that were first diagnosed after the Petition Date, irrespective of the application of any

 relevant federal, state or foreign statute of limitation or repose, may be filed with the PI Trust



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 within three (3) years after the date of diagnosis or within three (3) years after the Initial Claims

 Filing Date, whichever occurs later. However, the processing of any PI Trust Claim by the PI

 Trust may be deferred at the election of the claimant pursuant to Section 6.3 below.

                5.1(b) Processing of Claims. As a general practice, the PI Trust shall review its

 claims files on a regular basis and notify all claimants whose claims are likely to come up in the

 FIFO Processing Queue in the near future.

                5.1(c) Payment of Claims. PI Trust Claims that have been liquidated by the

 Expedited Review Process as provided in Section 5.3(a) below, by the Individual Review

 Process as provided in Section 5.3(b) below, by arbitration as provided in Section 5.10 below, or

 by litigation in the tort system provided in Section 5.11 below, shall be paid in FIFO order based

 on the date their liquidation became final (the “FIFO Payment Queue”), all such payments

 being subject to the applicable Payment Percentage, the Maximum Available Payment, and the

 Claims Payment Ratio, except as otherwise provided herein. Pre-Petition Liquidated Claims, as

 defined in Section 5.2 below, shall be subject to the Maximum Annual Payment and Payment

 Percentage limitations, but not to the Maximum Available Payment and Claims Payment Ratio

 provisions set forth above.

        Where the claimant is deceased or incompetent, and the settlement and payment of his or

 her claim must be approved by a court of competent jurisdiction or through a probate process

 prior to acceptance of the claim by the claimant’s representative, an offer made by the PI Trust

 on the claim shall remain open so long as proceedings before that court or in that probate process

 remain pending, provided that the PI Trust has been furnished with evidence that the settlement

 offer has been submitted to such court or in the probate process for approval. If the offer is

 ultimately approved by the court or through the probate process and accepted by the claimant’s



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 representative, the PI Trust shall pay the claim in the amount so offered, multiplied by the

 Payment Percentage in effect at the time the offer was first made.

           If any claims are liquidated on the same date, the claimant’s position in the FIFO

 Payment Queue shall be determined by the date of the diagnosis of the claimant’s asbestos-

 related disease. If any claims are liquidated on the same date and the respective holders’

 asbestos-related diseases were diagnosed on the same date, the position of those claims in the

 FIFO Payment Queue shall be determined by the PI Trust based on the dates of the claimants’

 birth, with older claimants given priority over younger claimants.

           5.2    Resolution of Pre-Petition Liquidated PI Trust Claims.

                  5.2(a) Processing and Payment. As soon as practicable after the Effective Date,

 the PI Trust shall pay, upon submission by the claimant of the appropriate documentation, all PI

 Trust Claims that were liquidated by (i) a binding settlement agreement for the particular claim

 entered into prior to the Petition Date that is judicially enforceable by the claimant, (ii) a jury

 verdict or non-final judgment in the tort system obtained prior to the Petition Date, or (iii) by a

 judgment that became final and non-appealable prior to the Petition Date (collectively “Pre-

 Petition Liquidated Claims”). In order to receive payment from the PI Trust, the holder of a

 Pre-Petition Liquidated Claim must submit all documentation necessary to demonstrate to the PI

 Trust that the claim was liquidated in the manner described in the preceding sentence, which

 documentation shall include (A) a court authenticated copy of the jury verdict (if applicable), a

 non-final judgment (if applicable) or a final judgment (if applicable) and (B) the name, social

 security number and date of birth of the claimant and the name and address of the claimant’s

 lawyer.




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        The liquidated value of a Pre-Petition Liquidated Claim shall be the unpaid portion of the

 amount agreed to in the binding settlement agreement, the unpaid portion of the amount awarded

 by the jury verdict or non-final judgment, or the unpaid portion of the amount of the final

 judgment, as the case may be, plus interest, if any, that has accrued on that amount as of the

 Petition Date in accordance with the terms of the agreement, if any, or under applicable state law

 for settlements or judgments; however, except as otherwise provided in Section 7.4 below, the

 liquidated value of a Pre-Petition Liquidated Claim shall not include any punitive or exemplary

 damages. In addition, the amounts payable with respect to such claims shall not be subject to or

 taken into account in consideration of the Claims Payment Ratio and the Maximum Available

 Payment limitations, but shall be subject to the Maximum Annual Payment provisions, the

 Payment Percentage provisions, and the installment payment provisions of Section 2.7. In the

 absence of a Final Order of the Bankruptcy Court determining whether a settlement agreement is

 binding and judicially enforceable, a dispute between the claimant and the PI Trust over this

 issue shall be resolved pursuant to the same procedures in this TDP that are provided for

 resolving the validity and/or liquidated value of a PI Trust Claim (i.e., arbitration and litigation in

 the tort system as set forth in Sections 5.10 and 5.11 below).

        Pre-Petition Liquidated Claims shall be processed and paid in accordance with their order

 in a separate FIFO queue to be established by the PI Trust based on the date the PI Trust received

 all required documentation for the particular claim. If any Pre-Petition Liquidated Claims were

 filed on the same date, the claimants’ position in the FIFO queue for such claims shall be

 determined by the date on which the claim was liquidated. If any Pre-Petition Liquidated Claims

 were both filed and liquidated on the same dates, the position of the claimants in the FIFO queue




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 shall be determined by the dates of the claimants’ birth, with older claimants given priority over

 younger claimants.

                5.2(b) Marshalling of Security. Holders of Pre-Petition Liquidated Claims that

 are secured by letters of credit, appeal bonds, or other security or sureties shall first exhaust their

 rights against any applicable security or surety before making a claim against the PI Trust. Only

 in the event that such security or surety is insufficient to pay the Pre-Petition Liquidated Claim in

 full shall the deficiency be processed and paid as a Pre-Petition Liquidated Claim.

        5.3     Resolution of Unliquidated PI Trust Claims. Within six (6) months after the

 establishment of the PI Trust, the Trustees, with the consent of the TAC and the Futures

 Representative, shall adopt procedures for reviewing and liquidating all unliquidated PI Trust

 Claims, which shall include deadlines for processing such claims. Such procedures shall also

 require that claimants seeking resolution of unliquidated PI Trust Claims must first file a proof of

 claim form, together with the required supporting documentation, in accordance with the

 provisions of Sections 6.1 and 6.2 below. It is anticipated that the PI Trust shall provide an

 initial response to the claimant within six (6) months of receiving the proof of claim form.

        The proof of claim form shall require the claimant to assert his or her claim for the

 highest Disease Level for which the claim qualifies at the time of filing. Irrespective of the

 Disease Level alleged on the proof of claim form, all claims shall be deemed to be a claim for the

 highest Disease Level for which the claim qualifies at the time of filing, and all lower Disease

 Levels for which the claim may also qualify at the time of filing or in the future shall be treated

 as subsumed into the higher Disease Level for both processing and payment purposes.

        Upon filing of a valid proof of claim form with the required supporting documentation,

 the claimant shall be placed in the FIFO Processing Queue in accordance with the ordering



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 criteria described in Section 5.1(a) above. The PI Trust shall provide the claimant with six (6)

 months notice of the date by which it expects to reach the claim in the FIFO Processing Queue,

 following which the claimant shall promptly (i) advise the PI Trust whether the claim should be

 liquidated under the PI Trust’s Expedited Review Process described in Section 5.3(a) below or,

 in certain circumstances, under the PI Trust’s Individual Review Process described in Section

 5.3(b) below; (ii) provide the PI Trust with any additional medical and/or exposure evidence that

 was not provided with the original claim submission; and (iii) advise the PI Trust of any change

 in the claimant’s Disease Level. If a claimant fails to respond to the PI Trust’s notice prior to the

 reaching of the claim in the FIFO Processing Queue, the PI Trust shall process and liquidate the

 claim under the Expedited Review Process based upon the medical/exposure evidence previously

 submitted by the claimant, although the claimant shall retain the right to request Individual

 Review as described in Section 5.3(b) below.

                5.3(a) Expedited Review Process.

                        5.3(a)(1) In General. The PI Trust’s Expedited Review Process is

 designed primarily to provide an expeditious, efficient and inexpensive method for liquidating all

 PI Trust Claims (except those involving Lung Cancer 2 – Disease Level VI and all Foreign

 Claims (as defined below), which shall only be liquidated pursuant to the PI Trust’s Individual

 Review Process), where the claim can easily be verified by the PI Trust as meeting the

 presumptive Medical/Exposure Criteria for the relevant Disease Level. Expedited Review thus

 provides claimants with a substantially less burdensome process for pursuing PI Trust Claims

 than does the Individual Review Process described in Section 5.3(b) below. Expedited Review is

 also intended to provide qualifying claimants a fixed and certain claims payment.




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        Thus, claims that undergo Expedited Review and meet the presumptive

 Medical/Exposure Criteria for the relevant Disease Level shall be paid the Scheduled Value for

 such Disease Level set forth in Section 5.3(a)(3) below. However, except for claims involving

 Other Asbestos Disease (Disease Level I), all claims liquidated by Expedited Review shall be

 subject to the applicable Payment Percentage, the Maximum Available Payment, and the Claims

 Payment Ratio limitations set forth above. Claimants holding claims that cannot be liquidated by

 Expedited Review because they do not meet the presumptive Medical/Exposure Criteria for the

 relevant Disease Level may elect the PI Trust’s Individual Review Process set forth in Section

 5.3(b) below.

        Subject to the provisions of Section 5.8, the claimant’s eligibility to receive the

 Scheduled Value for his or her PI Trust Claim pursuant to the Expedited Review Process shall be

 determined solely by reference to the Medical/Exposure Criteria set forth below for each of the

 Disease Levels eligible for Expedited Review.

                       5.3(a)(2) Claims Processing Under Expedited Review. All claimants

 seeking liquidation of their claims pursuant to Expedited Review shall file the PI Trust’s proof of

 claim form. As a proof of claim form is reached in the FIFO Processing Queue, the PI Trust

 shall determine whether the claim described therein meets the Medical/Exposure Criteria for one

 of the seven Disease Levels eligible for Expedited Review, and shall advise the claimant of its

 determination. If a Disease Level is determined, the PI Trust shall tender to the claimant an offer

 of payment of the Scheduled Value for the relevant Disease Level multiplied by the applicable

 Payment Percentage, together with a form of release approved by the PI Trust. If the claimant

 accepts the Scheduled Value and returns the release properly executed, the claim shall be placed




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 in the FIFO Payment Queue, following which the PI Trust shall disburse payment subject to the

 limitations of the Maximum Available Payment and Claims Payment Ratio, if any.

                        5.3(a)(3) Disease Levels, Scheduled Values and Medical/Exposure

 Criteria. The eight Disease Levels covered by this TDP, together with the Medical/Exposure

 Criteria for each and the Scheduled Values for the seven Disease Levels eligible for Expedited

 Review, are set forth below. These Disease Levels, Scheduled Values, and Medical/Exposure

 Criteria shall apply to all PI Trust Voting Claims filed with the PI Trust (except Pre-Petition

 Liquidated Claims) on or before the Initial Claims Filing Date provided in Section 5.1 above for

 which the claimant elects the Expedited Review Process. Thereafter, for purposes of

 administering the Expedited Review Process and with the consent of the TAC and the Futures

 Representative, the Trustees may add to, change, or eliminate Disease Levels, Scheduled Values,

 or Medical/Exposure Criteria; develop subcategories of Disease Levels, Scheduled Values or

 Medical/Exposure Criteria; or determine that a novel or exceptional asbestos personal injury

 claim is compensable even though it does not meet the Medical/Exposure Criteria for any of the

 then current Disease Levels. The PI Trust, with the consent of the TAC and the Futures

 Representative pursuant to Sections 5.7(b) and 6.6(b) of the PI Trust Agreement, shall

 periodically adjust the Scheduled Values to account for inflation.

 Disease Level              Scheduled Value        Medical/Exposure Criteria
 Mesothelioma                   $155,000           (1) Diagnosis3 of mesothelioma; and (2) G-I
 (Level VIII)                                      Exposure as defined in Section 5.7(b)(3).

 Lung Cancer 1                    $45,000          (1) Diagnosis of a primary lung cancer plus
 (Level VII)                                       evidence of an underlying Bilateral Asbestos-

 3
        The requirements for a diagnosis of an asbestos-related disease that may be compensated
 under the provisions of this TDP are set forth in Section 5.7 below.
 4
         Evidence of “Bilateral Asbestos-Related Nonmalignant Disease,” for purposes of meeting
 the criteria for establishing Disease Levels I, II, III, V, and VII, means either (i) a chest X-ray
 read by a qualified B reader of 1/0 or higher on the ILO scale or (ii)(x) a chest X-ray read by a

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 Disease Level              Scheduled Value        Medical/Exposure Criteria
                                                   Related Nonmalignant Disease4, (2) six months
                                                   G-I Exposure prior to December 31, 1982, (3)
                                                   Significant Occupational Exposure5 to asbestos,
                                                   and (4) supporting medical documentation
                                                   establishing asbestos exposure as a contributing
                                                   factor in causing the lung cancer in question.

 Lung Cancer 2                      None           (1) Diagnosis of a primary lung cancer; (2) G-I
 (Level VI)                                        Exposure prior to December 31, 1982, and (3)
                                                   supporting medical documentation establishing
                                                   asbestos exposure as a contributing factor in
                                                   causing the lung cancer in question.

                                                   Lung Cancer 2 (Level VI) claims are claims that
                                                   do not meet the more stringent medical and/or
                                                   exposure requirements of Lung Cancer 1 (Level
                                                   VII) claims. All claims in this Disease Level
                                                   shall be individually evaluated. The estimated
                                                   likely average of the individual evaluation
                                                   awards for this category is $15,000, with such
                                                   awards capped at $35,000 unless the claim


 qualified B reader or other Qualified Physician, (y) a CT scan read by a Qualified Physician, or
 (z) pathology, in each case showing either bilateral interstitial fibrosis, bilateral pleural plaques,
 bilateral pleural thickening, or bilateral pleural calcification. Evidence submitted to demonstrate
 (i) or (ii) above must be in the form of a written report stating the results (e.g., an ILO report, a
 written radiology report or a pathology report). Solely for asbestos claims filed against G-I or
 another defendant in the tort system prior to the Petition Date, if an ILO reading is not available,
 either (i) a chest X-ray or a CT scan read by a Qualified Physician, or (ii) pathology, in each case
 showing bilateral interstitial fibrosis, bilateral pleural plaques, bilateral pleural thickening, or
 bilateral pleural calcification consistent with or compatible with a diagnosis of asbestos-related
 disease, shall be evidence of a Bilateral Asbestos-Related Nonmalignant Disease for purposes of
 meeting the presumptive medical requirements of Disease Levels I, II, III, V and VII.
 Pathological proof of asbestosis may be based on the pathological grading system for asbestosis
 described in the Special Issue of the Archives of Pathology and Laboratory Medicine, “Asbestos-
 associated Diseases,” Vol. 106, No. 11, App. 3 (October 8, 1982). For all purposes of this TDP,
 a “Qualified Physician” is a physician who is board-certified (or in the case of Canadian Claims
 or Foreign Claims, a physician who is certified or qualified under comparable medical standards
 or criteria of the jurisdiction in question) in one or more relevant specialized fields of medicine
 such as pulmonology, radiology, internal medicine or occupational medicine; provided, however,
 subject to the provisions of Section 5.8, that the requirement for board certification in this
 provision shall not apply to otherwise qualified physicians whose X-ray and/or CT scan readings
 are submitted for deceased holders of PI Trust Claims.
 5
        The term “Significant Occupational Exposure” is defined in Section 5.7(b)(2) below.


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 Disease Level             Scheduled Value       Medical/Exposure Criteria
                                                 qualifies for Extraordinary Claim treatment.

                                                 Level VI claims that show no evidence of either
                                                 an underlying Bilateral Asbestos-Related
                                                 Nonmalignant Disease or Significant
                                                 Occupational Exposure may be individually
                                                 evaluated, although it is not expected that such
                                                 claims shall be treated as having any significant
                                                 value, especially if the claimant is also a
                                                 Smoker.6 In any event, no presumption of
                                                 validity shall be available for any claims in this
                                                 category.

 Other Cancer                    $15,000         (1) Diagnosis of a primary colo-rectal,
 (Level V)                                       laryngeal, esophageal, pharyngeal, or stomach
                                                 cancer, plus evidence of an underlying Bilateral
                                                 Asbestos-Related Nonmalignant Disease, (2) six
                                                 months G-I Exposure prior to December 31,
                                                 1982, (3) Significant Occupational Exposure to
                                                 asbestos, and (4) supporting medical
                                                 documentation establishing asbestos exposure as
                                                 a contributing factor in causing the other cancer
                                                 in question.

 Severe Asbestosis               $30,000         (1) Diagnosis of asbestosis with ILO of 2/1 or
 (Level IV)                                      greater, or asbestosis determined by pathological
                                                 evidence of asbestos, plus (a) TLC less than
                                                 65%, or (b) FVC less than 65% and FEV1/FVC
                                                 ratio greater than 65%, (2) six months G-I
                                                 Exposure prior to December 31, 1982, (3)
                                                 Significant Occupational Exposure to asbestos,
                                                 and (4) supporting medical documentation
                                                 establishing asbestos exposure as a contributing
                                                 factor in causing the pulmonary disease in

 6
         There is no distinction between Non-Smokers and Smokers for either Lung Cancer 1
 (Level VII) or Lung Cancer 2 (Level VI), although a claimant who meets the more stringent
 requirements of Lung Cancer 1 (Level VII) (evidence of an underlying Bilateral Asbestos-
 Related Nonmalignant Disease plus Significant Occupational Exposure), and who is also a Non-
 Smoker, may wish to have his or her claim individually evaluated by the PI Trust. In such a
 case, absent circumstances that would otherwise reduce the value of the claim, it is anticipated
 that the liquidated value of the claim might well exceed the $45,000 Scheduled Value for Lung
 Cancer 1 (Level VII) shown above. “Non-Smoker” means a claimant who either (a) never
 smoked or (b) has not smoked during any portion of the twelve (12) years immediately prior to
 the diagnosis of the lung cancer.


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 Disease Level             Scheduled Value        Medical/Exposure Criteria
                                                  question.

 Asbestosis/Pleural               $8,300          (1) Diagnosis of Bilateral Asbestos-Related
 Disease (Level III)                              Nonmalignant Disease, plus (a) TLC less than
                                                  80%, or (b) FVC less than 80% and FEV1/FVC
                                                  ratio greater than or equal to 65%, and (2) six
                                                  months G-I Exposure prior to December 31,
                                                  1982, (3) Significant Occupational Exposure to
                                                  asbestos, and (4) supporting medical
                                                  documentation establishing asbestos exposure as
                                                  a contributing factor in causing the pulmonary
                                                  disease in question.

 Asbestosis/Pleural               $2,625          (1) Diagnosis of a Bilateral Asbestos-Related
 Disease (Level II)                               Nonmalignant Disease, and (2) six months G-I
                                                  Exposure prior to December 31, 1982, and (3)
                                                  five years cumulative occupational exposure to
                                                  asbestos.

 Other Asbestos Disease            $225           (1) Diagnosis of a Bilateral Asbestos-Related
 (Level I – Cash                                  Nonmalignant Disease or an asbestos-related
 Discount Payment)                                malignancy other than mesothelioma, and (2)
                                                  G-I Exposure prior to December 31, 1982.

                 5.3(b) Individual Review Process.

                       5.3(b)(1) In General. Subject to the provisions set forth below, a

 claimant may elect to have his or her PI Trust Claim reviewed for purposes of determining

 whether the claim would be compensable in the tort system even though it does not meet the

 presumptive Medical/Exposure Criteria for any of the Disease Levels set forth in Section

 5.3(a)(3) above. In addition or alternatively, a claimant may elect to have a claim undergo the

 Individual Review Process for purposes of determining whether the liquidated value of claim

 involving Disease Levels IV, V, VII or VIII exceeds the Scheduled Value for the relevant

 Disease Level also set forth in said provision. However, until such time as the PI Trust has made

 an offer on a claim pursuant to Individual Review, the claimant may change his or her Individual

 Review election and have the claim liquidated pursuant to the PI Trust’s Expedited Review


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 Process. In the event of such a change in the processing election, the claimant shall nevertheless

 retain his or her place in the FIFO Processing Queue.

        The liquidated value of all Foreign Claims payable under this TDP shall be established

 only under the PI Trust’s Individual Review Process. Because PI Trust Claims of individuals

 exposed in Canada who were resident in Canada when such claims were filed (“Canadian

 Claims”) were routinely litigated and resolved in the courts of the United States, and because the

 resolution history of these claims has been included in developing the Expedited Review

 Process, such claims shall not be considered Foreign Claims hereunder and shall be eligible for

 liquidation under the Expedited Review Process. Accordingly, a “Foreign Claim” is a PI Trust

 Claim with respect to which the claimant’s exposure to an asbestos-containing product or

 conduct for which G-I has legal responsibility occurred outside of the United States and its

 Territories and Possessions, and outside of the Provinces and Territories of Canada.

        In reviewing Foreign Claims, the PI Trust shall take into account all relevant procedural

 and substantive legal rules to which the claims would be subject in the Claimant’s Jurisdiction as

 defined in Section 5.3(b)(2) below. The PI Trust shall determine the liquidated value of Foreign

 Claims based on historical settlements and verdicts in the Claimant’s Jurisdiction as well as the

 other valuation factors set forth in Section 5.3(b)(2) below.

        For purposes of the Individual Review process for Foreign Claims, the Trustees, with the

 consent of the TAC and the Futures Representative, may develop separate Medical/Exposure

 Criteria and standards, as well as separate requirements for physician and other professional

 qualifications, which shall be applicable to all Foreign Claims channeled to the PI Trust;

 provided however, that such criteria, standards or requirements shall not effectuate substantive

 changes to the claims eligibility requirements under this TDP, but rather shall be made only for



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 the purpose of adapting those requirements to the particular licensing provisions and/or medical

 customs or practices of the foreign country in question.

        At such time as the PI Trust has sufficient historical settlement, verdict and other

 valuation data for claims from a particular foreign jurisdiction, the Trustees, with the consent of

 the TAC and the Futures Representative, may also establish a separate valuation matrix for any

 such Foreign Claims based on that data.

                                5.3(b)(1)(A) Review of Medical/Exposure Criteria. The PI

 Trust’s Individual Review Process provides a claimant with an opportunity for individual

 consideration and evaluation of a PI Trust Claim that fails to meet the presumptive

 Medical/Exposure Criteria for Disease Levels I–V, VII or VIII. In such a case, the PI Trust shall

 either deny the claim or, if the PI Trust is satisfied that the claimant has presented a claim that

 would be cognizable and valid in the tort system, the PI Trust can offer the claimant a liquidated

 value amount up to the Scheduled Value for that Disease Level.

                                5.3(b)(1)(B) Review of Liquidated Value. Claimants holding

 claims in the five more serious Disease Levels IV–VIII shall also be eligible to seek Individual

 Review of the liquidated value of their claims, as well as of their medical/exposure evidence.

 The Individual Review Process is intended to result in payments equal to the full liquidated value

 for each claim multiplied by the Payment Percentage; however, the liquidated value of any PI

 Trust Claim that undergoes Individual Review may be determined to be less than the Scheduled

 Value the claimant would have received under Expedited Review. Moreover, the liquidated

 value for a claim involving Disease Levels IV–VIII shall not exceed the Maximum Value for the

 relevant Disease Level set forth in Section 5.3(b)(3) below, unless the claim meets the

 requirements of an Extraordinary Claim described in Section 5.4(a) below, in which case its



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 liquidated value cannot exceed the maximum extraordinary value set forth in Section 5.4(a) for

 such claims. Because the detailed examination and valuation process pursuant to Individual

 Review requires substantial time and effort, claimants electing to undergo the Individual Review

 Process may be paid the liquidated value of their PI Trust Claims later than would have been the

 case had the claimant elected the Expedited Review Process. Subject to the provisions of

 Section 5.8, the PI Trust shall devote reasonable resources to the review of all claims to ensure

 that there is a reasonable balance maintained in reviewing all classes of claims.

                        5.3(b)(2) Valuation Factors to Be Considered in Individual Review.

 The PI Trust shall liquidate the value of each PI Trust Claim that undergoes Individual Review

 based on the historic liquidated values of other similarly situated claims in the tort system for the

 same Disease Level. The PI Trust shall thus take into consideration all of the factors that affect

 the severity of damages and values within the tort system including, but not limited to, credible

 evidence of (i) the degree to which the characteristics of a claim differ from the presumptive

 Medical/Exposure Criteria for the Disease Level in question; (ii) factors such as the claimant’s

 age, disability, employment status, disruption of household, family or recreational activities,

 dependencies, special damages, and pain and suffering; (iii) whether the claimant’s damages

 were (or were not) caused by asbestos exposure, including exposure to an asbestos-containing

 product or to conduct for which G-I has legal responsibility prior to December 31, 1982 (for

 example, alternative causes, and the strength of documentation of injuries); (iv) the industry of

 exposure; (v) settlement and verdict histories and other law firms’ experience in the Claimant's

 Jurisdiction for similarly situated claims; and (vi) settlement and verdict histories for the

 claimant’s law firm for similarly situated claims.




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        For these purposes, the “Claimant’s Jurisdiction” is the jurisdiction in which the claim

 was filed (if at all) against G-I in the tort system prior to the Petition Date. If the claim was not

 filed against G-I in the tort system prior to the Petition Date, the claimant may elect as the

 Claimant’s Jurisdiction either (i) the jurisdiction in which the claimant resides at the time of

 diagnosis or when the claim is filed with the PI Trust; or (ii) a jurisdiction in which the claimant

 experienced exposure to asbestos or an asbestos-containing product or to conduct for which G-I

 has legal responsibility.

        With respect to the “Claimant’s Jurisdiction” in the event a personal representative or

 authorized agent makes a claim under this TDP for wrongful death with respect to which the

 governing law of the Claimant’s Jurisdiction could only be the Alabama Wrongful Death Statute,

 the Claimant’s Jurisdiction for such claim shall be the Commonwealth of Pennsylvania, and such

 claimant’s damages shall be determined pursuant to the statutory and common laws of the

 Commonwealth of Pennsylvania without regard to its choice of law principles. The choice of

 law provision in Section 7.4 below applicable to any claim with respect to which, but for this

 choice of law provision, the applicable law of the Claimant’s Jurisdiction pursuant to Section

 5.3(b)(2) is determined to be the Alabama Wrongful Death Statute, shall only govern the rights

 between the PI Trust and the claimant, and, to the extent the PI Trust seeks recovery from any

 entity that provided insurance coverage to G-I, the Alabama Wrongful Death Statute shall

 govern.

                        5.3(b)(3) Scheduled, Average and Maximum Values. The Scheduled,

 Average and Maximum Values for claims involving Disease Levels I–VIII are the following:

 Scheduled Disease                    Scheduled Value        Average Value         Maximum Value

 Mesothelioma (Level VIII)                 $155,000               $225,000              $450,000




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 Scheduled Disease                   Scheduled Value        Average Value         Maximum Value

 Lung Cancer 1 (Level VII)                 $45,000                $55,000              $100,000

 Lung Cancer 2 (Level VI)                    None                 $15,000               $35,000

 Other Cancer (Level V)                    $15,000                $18,000               $35,000

 Severe Asbestosis (Level IV)              $30,000                $35,000               $50,000

 Asbestosis/Pleural Disease                 $8,300                 None                  None
 (Level III)

 Asbestosis/Pleural Disease                 $2,625                 None                  None
 (Level II)

 Other Asbestos Disease – Cash               $225                  None                  None
 Discount Payment (Level I)


        These Scheduled Values, Average Values and Maximum Values shall apply to all PI

 Trust Voting Claims other than Pre-Petition Liquidated Claims filed with the PI Trust on or

 before the Initial Claims Filing Date as provided in Section 5.1 above. Thereafter, the PI Trust,

 with the consent of the TAC and the Futures Representative pursuant to Sections 5.7(b) and

 6.6(b) of the PI Trust Agreement, shall periodically adjust these valuation amounts to account for

 inflation and otherwise may adjust the values for good cause and consistent with other

 restrictions on the amendment power.

        5.4     Categorizing Claims as Extraordinary and/or Exigent Hardship.

                5.4(a) Extraordinary Claims. “Extraordinary Claim” means a PI Trust Claim

 that otherwise satisfies the Medical Criteria for Disease Levels IV–VIII, and that is held by a

 claimant whose exposure to asbestos (i) occurred predominantly as a result of working in a

 manufacturing facility of G-I during a period in which G-I was manufacturing asbestos-

 containing products at that facility, or (ii) was at least 75% the result of exposure to asbestos or

 an asbestos-containing product or to conduct for which G-I has legal responsibility, and in either


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 case there is little likelihood of a substantial recovery elsewhere. All such Extraordinary Claims

 shall be presented for Individual Review and, if valid, shall be entitled to an award of up to a

 maximum extraordinary value of five (5) times the Scheduled Value set forth in Section

 5.3(b)(3) for claims qualifying for Disease Levels IV–V, VII and VIII, and five (5) times the

 Average Value for claims in Disease Level VI, multiplied by the applicable Payment Percentage.

        Any dispute as to Extraordinary Claim status shall be submitted to a special

 Extraordinary Claims Panel established by the PI Trust with the consent of the TAC and the

 Futures Representative. All decisions of the Extraordinary Claims Panel shall be final and not

 subject to any further administrative or judicial review. An Extraordinary Claim, following its

 liquidation, shall be placed in the FIFO Payment Queue ahead of all other PI Trust Claims except

 Pre-Petition Liquidated Claims, Disease Level I Claims, Existing Claims, and Exigent Hardship

 Claims, which shall be paid first, based on its date of liquidation, subject to the Maximum

 Available Payment and Claims Payment Ratio described above.

                5.4(b) Exigent Hardship Claims. At any time the PI Trust may liquidate and

 pay PI Trust Claims that qualify as Exigent Hardship Claims as defined below. Such claims may

 be considered separately no matter what the order of processing otherwise would have been

 under this TDP. An Exigent Hardship Claim, following its liquidation, shall be placed first in

 the FIFO Payment Queue ahead of all other liquidated PI Trust Claims except Pre-Petition

 Liquidated Claims, Disease Level I Claims and Existing Claims, which claims, together with the

 Exigent Hardship Claims, shall be paid in accordance with the provisions of Section 2.4 hereof.

 A PI Trust Claim qualifies for payment as an Exigent Hardship Claim if the claim meets the

 Medical/Exposure Criteria for Severe Asbestosis (Disease Level IV) or an asbestos-related

 malignancy (Disease Levels V–VIII), and the PI Trust, in its sole discretion, determines (i) that



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 the claimant needs financial assistance on an immediate basis based on the claimant’s expenses

 and all sources of available income, and (ii) that there is a causal connection between the

 claimant’s dire financial condition and the claimant’s asbestos-related disease.

        5.5     Secondary Exposure Claims. If a claimant alleges an asbestos-related disease

 resulting solely from exposure to an occupationally exposed person, such as a family member,

 the claimant must seek Individual Review of his or her claim pursuant to Section 5.3(b) above.

 In such a case, the claimant must establish that the occupationally exposed person would have

 met the exposure requirements under this TDP that would have been applicable had that person

 filed a direct claim against the PI Trust. In addition, the claimant with secondary exposure must

 establish that he or she is suffering from one of the eight Disease Levels described in Section

 5.3(a)(3) above or an asbestos-related disease otherwise compensable under this TDP, that his or

 her own exposure to the occupationally exposed person occurred within the same time frame as

 the occupationally exposed person was exposed to asbestos or asbestos-containing products

 manufactured, produced or distributed by G-I or to conduct for which G-I has legal

 responsibility, and that such secondary exposure was a cause of the claimed disease. All other

 liquidation and payment rights and limitations under this TDP shall be applicable to such claims.

        5.6     Indirect PI Trust Claims. Indirect PI Trust Claims asserted against the PI Trust

 shall be treated as presumptively valid and paid by the PI Trust subject to the applicable Payment

 Percentage if (a) such claim satisfied the requirements of the Bar Date for such claims

 established by the Bankruptcy Court, if applicable, and is not otherwise disallowed by Section

 502(e) of the Bankruptcy Code or subordinated under Section 509(c) of the Bankruptcy Code,

 and, and (b) the holder of such claim (the “Indirect Claimant”) establishes to the satisfaction of

 the Trustees that (i) the Indirect Claimant has paid in full the liability and obligation of the PI



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 Trust to the individual claimant to whom the PI Trust would otherwise have had a liability or

 obligation under this TDP (the “Direct Claimant”), (ii) the Direct Claimant and the Indirect

 Claimant have forever and fully released the PI Trust from all liability to the Direct Claimant,

 and (iii) the claim is not otherwise barred by a statute of limitation or repose or by other

 applicable law. In no event shall any Indirect Claimant have any rights against the PI Trust

 superior to the rights of the related Direct Claimant against the PI Trust, including any rights

 with respect to the timing, amount or manner of payment. In addition, no Indirect PI Trust Claim

 may be liquidated and paid in an amount that exceeds what the Indirect Claimant has actually

 paid the related Direct Claimant.

        To establish a presumptively valid Indirect PI Trust Claim, the Indirect Claimant’s

 aggregate liability for the Direct Claimant’s claim must also have been fixed, liquidated and paid

 fully by the Indirect Claimant by settlement (with an appropriate full release in favor of the PI

 Trust) or a Final Order (as defined in the Plan) provided that such claim is valid under the

 applicable state law. In any case where the Indirect Claimant has satisfied the claim of a Direct

 Claimant against the PI Trust under applicable law by way of a settlement, the Indirect Claimant

 shall obtain for the benefit of the PI Trust a release in form and substance satisfactory to the

 Trustees.

        If an Indirect Claimant cannot meet the presumptive requirements set forth above,

 including the requirement that the Indirect Claimant provide the PI Trust with a full release of

 the Direct Claimant’s claim, the Indirect Claimant may request that the PI Trust review the

 Indirect PI Trust Claim individually to determine whether the Indirect Claimant can establish

 under applicable state law that the Indirect Claimant has paid all or a portion of a liability or

 obligation that the PI Trust had to the Direct Claimant as of the Effective Date. If the Indirect



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 Claimant can show that it has paid all or a portion of such a liability or obligation, the PI Trust

 shall reimburse the Indirect Claimant the amount of the liability or obligation so paid, times the

 then applicable Payment Percentage. However, in no event shall such reimbursement to the

 Indirect Claimant be greater than the amount to which the Direct Claimant would have otherwise

 been entitled. Further, the liquidated value of any Indirect PI Trust Claim paid by the PI Trust to

 an Indirect Claimant shall be treated as an offset to or reduction of the full liquidated value of

 any PI Trust Claim that might be subsequently asserted by the Direct Claimant against the PI

 Trust.

          Any dispute between the PI Trust and an Indirect Claimant over whether the Indirect

 Claimant has a right to reimbursement for any amount paid to a Direct Claimant shall be subject

 to the ADR Procedures provided in Section 5.10 below and set forth in Attachment A hereto. If

 such dispute is not resolved by said ADR Procedures, the Indirect Claimant may litigate the

 dispute in the tort system pursuant to Sections 5.11 and 7.5 below.

          The Trustees may develop and approve a separate proof of claim form for Indirect PI

 Trust Claims. Indirect PI Trust Claims that have not been disallowed, discharged, or otherwise

 resolved by prior order of the Bankruptcy Court shall be processed in accordance with

 procedures to be developed and implemented by the Trustees consistent with the provisions of

 this Section 5.6, which procedures (a) shall determine the validity, allowability and

 enforceability of such claims; and (b) shall otherwise provide the same liquidation and payment

 procedures and rights to the holders of such claims as the PI Trust would have afforded the

 holders of the underlying valid PI Trust Claims. Nothing in this TDP is intended to preclude a

 trust to which asbestos-related liabilities are channeled from asserting an Indirect PI Trust Claim

 against the PI Trust subject to the requirements set forth herein.



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        5.7     Evidentiary Requirements.

                5.7(a) Medical Evidence.

                         5.7(a)(1) In General. All diagnoses of a Disease Level shall be

 accompanied by either (i) a statement by the physician providing the diagnosis that at least ten

 (10) years have elapsed between the date of first exposure to asbestos or asbestos-containing

 products and the diagnosis, or (ii) a history of the claimant’s exposure sufficient to establish a

 10-year latency period. A finding by a physician after the Effective Date that a claimant’s

 disease is “consistent with” or “compatible with” asbestosis shall not alone be treated by the PI

 Trust as a diagnosis.

                                5.7(a)(1)(A) Disease Levels I–IV. Except for asbestos claims

 filed against G-I or any other defendant in the tort system prior to the Petition Date, all diagnoses

 of a non-malignant asbestos-related disease (Disease Levels I–IV) shall be based in the case of a

 claimant who was living at the time the claim was filed, upon a physical examination of the

 claimant by the physician providing the diagnosis of the asbestos-related disease. All living

 claimants must also provide (i) for Disease Levels I–III, evidence of Bilateral Asbestos-Related

 Nonmalignant Disease (as defined in Footnote 3 above); (ii) for Disease Level IV,7 an ILO

 reading of 2/1 or greater or pathological evidence of asbestosis, and (iii) for Disease Levels III

 and IV, pulmonary function testing.8


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         All diagnoses of Asbestos/Pleural Disease (Disease Levels II and III) not based on
 pathology shall be presumed to be based on findings of bilateral asbestosis or pleural disease,
 and all diagnoses of Mesothelioma (Disease Level VIII) shall be presumed to be based on
 findings that the disease involves a malignancy. However, the PI Trust may rebut such
 presumptions.
 8
         “Pulmonary function testing” or “PFT” shall mean testing that is in material compliance
 with the quality criteria established by the American Thoracic Society (“ATS”) and is performed
 on equipment which is in material compliance with ATS standards for technical quality and
 calibration. PFT performed in a hospital accredited by the JCAHO, or performed, reviewed or

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        In the case of a claimant who was deceased at the time the claim was filed, all diagnoses

 of a non-malignant asbestos-related disease (Disease Levels I–IV) shall be based upon either (i) a

 physical examination of the claimant by the physician providing the diagnosis of the asbestos-

 related disease; or (ii) pathological evidence of the non-malignant asbestos-related disease; or

 (iii) in the case of Disease Levels I–III, evidence of Bilateral Asbestos-Related Nonmalignant

 Disease (as defined in Footnote 3 above), and for Disease Level IV, either an ILO reading of 2/1

 or greater or pathological evidence of asbestosis; and (iv) for either Disease Level III or IV,

 pulmonary function testing.

                                5.7(a)(1)(B) Disease Levels V–VIII. All diagnoses of an

 asbestos-related malignancy (Disease Levels V–VIII) shall be based upon either (i) a physical

 examination of the claimant by the physician providing the diagnosis of the asbestos-related

 disease, or (ii) a diagnosis of such a malignant Disease Level by a board-certified pathologist or

 by a pathology report prepared at or on behalf of a hospital accredited by the Joint Commission

 on Accreditation of Healthcare Organizations (“JCAHO”).

                                5.7(a)(1)(C) Exception to the Exception for Certain Pre-

 Petition Claims. If the holder of a PI Trust Claim that was filed against G-I or any other

 defendant in the tort system prior to the Petition Date has available a report of a diagnosing

 physician engaged by the holder or his or her law firm who conducted a physical examination of


 supervised by a board certified pulmonologist or other Qualified Physician shall be presumed to
 comply with ATS standards, and the claimant may submit a summary report of the testing. If the
 PFT was not performed in an JCAHO-accredited hospital, or performed, reviewed or supervised
 by a board certified pulmonologist or other Qualified Physician, the claimant must submit the
 full report of the testing (as opposed to a summary report); provided, however, that if the PFT
 was conducted prior to the Effective Date of the Plan and the full PFT report is not available, the
 claimant must submit a declaration signed by a Qualified Physician or other qualified party, in
 the form provided by the PI Trust, certifying that the PFT was conducted in material compliance
 with ATS standards.


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 the holder as described in Sections 5.7(a)(1)(A), or if the holder has filed such medical evidence

 and/or a diagnosis of the asbestos-related disease by a physician not engaged by the holder or his

 or her law firm who conducted a physical examination of the holder with another asbestos-

 related personal injury settlement trust that requires such evidence, without regard to whether the

 claimant or the law firm engaged the diagnosing physician, the holder shall provide such medical

 evidence to the PI Trust notwithstanding the exception in Section 5.7(a)(1)(A).

                         5.7(a)(2) Credibility of Medical Evidence. Before making any payment

 to a claimant, the PI Trust must have reasonable confidence that the medical evidence provided

 in support of the claim is credible and consistent with recognized medical standards. The PI

 Trust may require the submission of X-rays, CT scans, detailed results of pulmonary function

 tests, laboratory tests, tissue samples, results of medical examination or reviews of other medical

 evidence, and may require that medical evidence submitted comply with recognized medical

 standards regarding equipment, testing methods and procedures to assure that such evidence is

 reliable. Medical evidence (i) that is of a kind shown to have been received in evidence by a

 state or federal judge at trial, (ii) that is consistent with evidence submitted to G-I to settle for

 payment similar disease cases prior to G-I’s bankruptcy, or (iii) that is a diagnosis by a physician

 shown to have previously qualified as a medical expert with respect to the asbestos-related

 disease in question before a state or federal judge, is presumptively reliable, although the PI

 Trust may seek to rebut the presumption. In addition, claimants who otherwise meet the

 requirements of this TDP for payment of a PI Trust Claim shall be paid irrespective of the results

 in any litigation at any time between the claimant and any other defendant in the tort system.

 However, any relevant evidence submitted in a proceeding in the tort system, other than any

 findings of fact, a verdict, or a judgment, involving another defendant may be introduced by



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 either the claimant or the PI Trust in any Individual Review proceeding conducted pursuant to

 5.3(b) or any Extraordinary Claim proceeding conducted pursuant to 5.4(a).

                   5.7(b) Exposure Evidence.

                         5.7(b)(1) In General. As set forth above in Section 5.3(a)(3), to qualify

 for any Disease Level, the claimant must demonstrate a minimum exposure to an asbestos-

 containing product manufactured, produced or distributed by G-I or to conduct for which G-I has

 legal responsibility. Claims based on conspiracy theories that involve no exposure to an

 asbestos-containing product manufactured, produced or distributed by G-I are not compensable

 under this TDP. To meet the presumptive exposure requirements of Expedited Review set forth

 in Section 5.3(a)(3) above, the claimant must show (i) for all Disease Levels, G-I Exposure as

 defined in Section 5.7(b)(3) below prior to December 31, 1982; (ii) for Asbestos/Pleural Disease

 Level II, six (6) months G-I Exposure prior to December 31, 1982, plus five years cumulative

 occupational asbestos exposure; and (iii) for Asbestosis/Pleural Disease (Disease Level III),

 Severe Asbestosis (Disease Level IV), Other Cancer (Disease Level V) or Lung Cancer 1

 (Disease Level VII), the claimant must show six (6) months G-I Exposure prior to December 31,

 1982, plus Significant Occupational Exposure to asbestos. If the claimant cannot meet the

 relevant presumptive exposure requirements for a Disease Level eligible for Expedited Review,

 the claimant may seek Individual Review pursuant to Section 5.3(b) of his or her claim based on

 exposure to asbestos or an asbestos-containing product or to conduct for which G-I has legal

 responsibility.

                         5.7(b)(2) Significant Occupational Exposure. “Significant

 Occupational Exposure” means employment for a cumulative period of at least five (5) years

 with a minimum of two (2) years prior to December 31, 1982, in an industry and an occupation



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 in which the claimant (a) handled raw asbestos fibers on a regular basis; (b) fabricated asbestos-

 containing products so that the claimant in the fabrication process was exposed on a regular basis

 to raw asbestos fibers; (c) altered, repaired or otherwise worked with an asbestos-containing

 product such that the claimant was exposed on a regular basis to asbestos fibers; or (d) was

 employed in an industry and occupation such that the claimant worked on a regular basis in close

 proximity to workers engaged in the activities described in (a), (b) and/or (c).

                        5.7(b)(3) G-I Exposure. The claimant must demonstrate (i) meaningful

 and credible exposure, which occurred prior to December 31, 1982, to asbestos or asbestos-

 containing products supplied, specified, manufactured, installed, maintained, or repaired by G-I

 and/or any entity for which G-I has legal responsibility (“G-I Exposure”). That meaningful and

 credible exposure evidence may be established by an affidavit or sworn statement of the

 claimant, by an affidavit or sworn statement of a co-worker or the affidavit or sworn statement of

 a family member in the case of a deceased claimant (providing the PI Trust finds such evidence

 reasonably reliable), by invoices, employment, construction or similar records, or by other

 credible evidence. The specific exposure information required by the PI Trust to process a claim

 under either Expedited or Individual Review shall be set forth on the proof of claim form to be

 used by the PI Trust. The PI Trust can also require submission of other or additional evidence of

 exposure when it deems such to be necessary.

        Evidence submitted to establish proof of G-I Exposure is for the sole benefit of the PI

 Trust, not third parties or defendants in the tort system. The PI Trust has no need for, and

 therefore claimants are not required to furnish the PI Trust with evidence of, exposure to specific

 asbestos or asbestos-containing products other than those for which G-I has legal responsibility,

 except to the extent such evidence is required elsewhere in this TDP. Similarly, failure to



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 identify G-I products in the claimant’s underlying tort action, or to other bankruptcy trusts, does

 not preclude the claimant from recovering from the PI Trust, provided the claimant otherwise

 satisfies the medical and exposure requirements of this TDP.

        5.8     Claims Audit Program. The PI Trust, with the consent of the TAC and the

 Futures Representative, may develop methods for auditing the reliability of medical evidence,

 including additional reading of X-rays, CT scans and verification of pulmonary function tests, as

 well as the reliability of evidence of exposure to asbestos, including exposure to asbestos-

 containing products manufactured or distributed by G-I prior to December 31, 1982. In the event

 that the PI Trust reasonably determines that any individual or entity has engaged in a pattern or

 practice of providing unreliable medical evidence to the PI Trust, it may decline to accept

 additional evidence from such provider in the future.

        Further, in the event that an audit reveals that fraudulent information has been provided

 to the PI Trust, the PI Trust may penalize any claimant or claimant’s attorney by disallowing the

 PI Trust Claim or by other means including, but not limited to, requiring the source of the

 fraudulent information to pay the costs associated with the audit and any future audit or audits,

 reordering the priority of payment of all affected claimants’ PI Trust Claims, raising the level of

 scrutiny of additional information submitted from the same source or sources, refusing to accept

 additional evidence from the same source or sources, seeking the prosecution of the claimant or

 claimant’s attorney for presenting a fraudulent claim in violation of 18 U.S.C. § 152, and seeking

 sanctions from the Bankruptcy Court.

        5.9     Second Disease (Malignancy) Claims. The holder of a PI Trust Claim involving

 a non-malignant asbestos-related disease (Disease Levels I–IV) may assert a new PI Trust Claim

 against the PI Trust for a malignant disease (Disease Levels V–VIII) that is subsequently



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 diagnosed. Any additional payments to which such claimant may be entitled with respect to such

 malignant asbestos-related disease shall not be reduced by the amount paid for the non-malignant

 asbestos-related disease, provided that the malignant disease had not been diagnosed by the time

 the claimant was paid with respect to the original claim involving the non-malignant disease.

        5.10    Arbitration.

                5.10(a) Establishment of ADR Procedures. The PI Trust, with the consent of the

 TAC and the Futures Representative, shall institute binding and non-binding arbitration

 procedures in accordance with the Alternative Dispute Resolution (“ADR”) Procedures included

 in Attachment A hereto for resolving disputes concerning whether a pre-petition settlement

 agreement with G-I is binding and judicially enforceable in the absence of a Final Order of the

 Bankruptcy Court determining the issue, whether the PI Trust’s outright rejection or denial of a

 claim was proper, or whether the claimant’s medical condition or exposure history meets the

 requirements of this TDP for purposes of categorizing a claim involving Disease Levels I–VIII.

 Binding and non-binding arbitration shall also be available for resolving disputes over the

 liquidated value of a claim involving Disease Levels IV–VIII, as well as disputes over G-I’s share

 of the unpaid portion of a Pre-Petition Liquidated Claim described in Section 5.2 above and

 disputes over the validity of an Indirect PI Trust Claim.

        In all arbitrations, the arbitrator shall consider the same medical and exposure evidentiary

 requirements that are set forth in Section 5.7 above. In the case of an arbitration involving the

 liquidated value of a claim involving Disease Levels IV–VIII, the arbitrator shall consider the

 same valuation factors that are set forth in Section 5.3(b)(2) above. In order to facilitate the

 Individual Review Process with respect to such claims, the PI Trust may from time to time

 develop a valuation model that enables the PI Trust to efficiently make initial liquidated value



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 offers on those claims in the Individual Review setting. In an arbitration involving any such

 claim, the PI Trust shall neither offer into evidence or describe any such model nor assert that any

 information generated by the model has any evidentiary relevance or should be used by the

 arbitrator in determining the presumed correct liquidated value in the arbitration. The underlying

 data that was used to create the model may be relevant and may be made available to the arbitrator

 but only if provided to the claimant or his or her counsel ten (10) days prior to the arbitration

 proceeding. With respect to all claims eligible for arbitration, the claimant, but not the PI Trust,

 may elect either non-binding or binding arbitration. The ADR Procedures set forth in Attachment

 A hereto may be modified by the PI Trust with the consent of the TAC and the Futures

 Representative.

                5.10(b) Claims Eligible for Arbitration. In order to be eligible for arbitration,

 the claimant must first complete the Individual Review Process with respect to the disputed issue

 as well as either the Pro Bono Evaluation or the Mediation process set forth in the ADR

 Procedures. Individual Review shall be treated as completed for these purposes when the claim

 has been individually reviewed by the PI Trust, the PI Trust has made an offer on the claim, the

 claimant has rejected the liquidated value resulting from the Individual Review, and the claimant

 has notified the PI Trust of the rejection in writing. Individual Review shall also be treated as

 completed if the PI Trust has rejected the claim.

                5.10(c) Limitations on and Payment of Arbitration Awards. In the case of a

 claim involving Disease Levels I–III, the arbitrator shall not return an award in excess of the

 Scheduled Value for such claim. In the case of a non-Extraordinary Claim involving Disease

 Levels IV–VIII, the arbitrator shall not return an award in excess of the Maximum Value for the

 appropriate Disease Level as set forth in Section 5.3(a)(3) above, and for an Extraordinary Claim



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 involving one of those Disease Levels, the arbitrator shall not return an award greater than the

 maximum extraordinary value for such a claim as set forth in Section 5.4(a) above. A claimant

 who submits to arbitration and who accepts the arbitral award shall receive payments in the same

 manner as one who accepts the PI Trust’s original valuation of the claim.

        5.11    Litigation. Claimants who elect non-binding arbitration and then reject their

 arbitral awards retain the right to institute a lawsuit in the tort system against the PI Trust

 pursuant to Section 7.5 below. However, a claimant shall be eligible for payment of a judgment

 for monetary damages obtained in the tort system from the PI Trust’s available cash only as

 provided in Section 7.6 below.

                                             SECTION VI

                                           Claims Materials

        6.1     Claims Materials. The PI Trust shall prepare suitable and efficient claims

 materials (“Claims Materials”) for all PI Trust Claims, and shall provide such Claims Materials

 upon a written request for such materials to the PI Trust. The proof of claim form to be

 submitted to the PI Trust shall require the claimant to assert the highest Disease Level for which

 the claim qualifies at the time of filing. The proof of claim form shall also include a certification

 by the claimant or his or her attorney sufficient to meet the requirements of Rule 11(b) of the

 Federal Rules of Civil Procedure. In developing its claim filing procedures, the PI Trust shall

 make every effort to provide claimants with the opportunity to utilize currently available

 technology at their discretion, including filing claims and supporting documentation over the

 internet and electronically by disk or CD-rom. The proof of claim form to be used by the PI

 Trust shall be developed by the PI Trust and submitted to the TAC and the Futures




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 Representatives for approval; it may be changed by the PI Trust with the consent of the TAC and

 the Futures Representative.

        6.2     Content of Claims Materials. The Claims Materials shall include a copy of this

 TDP, such instructions as the Trustees shall approve, and a detailed proof of claim form. If

 feasible, the forms used by the PI Trust to obtain claims information shall be the same or

 substantially similar to those used by other asbestos claims resolution organizations. If requested

 by the claimant, the PI Trust shall accept information provided electronically. The claimant

 may, but shall not be required to, provide the PI Trust with evidence of recovery from other

 defendants and claims resolution organizations.

        6.3     Withdrawal or Deferral of Claims. A claimant can withdraw a PI Trust Claim

 at any time upon written notice to the PI Trust and file another claim subsequently without

 affecting the status of the claim for statute of limitations purposes, but any such claim filed after

 withdrawal shall be given a place in the FIFO Processing Queue based on the date of such

 subsequent filing. A claimant can also request that the processing of his or her PI Trust Claim by

 the PI Trust be deferred for a period not to exceed three (3) years without affecting the status of

 the claim for statute of limitation purposes, in which case the claimant shall also retain his or her

 original place in the FIFO Processing Queue. Except for PI Trust Claims held by representatives

 of deceased or incompetent claimants for which court or probate approval of the PI Trust’s offer

 is required, or a PI Trust Claim for which deferral status has been granted, a claim shall be

 deemed to have been withdrawn if the claimant neither accepts, rejects, nor initiates arbitration

 within six (6) months of the PI Trust’s written offer of payment or rejection of the claim. Upon

 written request and good cause, the PI Trust may extend the withdrawal or deferral period for an

 additional six (6) months.



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        6.4     Filing Requirements and Fees. The Trustees shall have the discretion to

 determine, with the consent of the TAC and the Futures Representative, (a) whether a claimant

 must have previously filed an asbestos-related personal injury claim in the tort system to be

 eligible to file the claim with the PI Trust and (b) whether a filing fee should be required for any

 PI Trust Claims.

        6.5     Confidentiality of Claimants’ Submissions. All submissions to the PI Trust by

 a holder of a PI Trust Claim or a proof of claim form and materials related thereto shall be

 treated as made in the course of settlement discussions between the holder and the PI Trust, and

 intended by the parties to be confidential and to be protected by all applicable state and federal

 privileges, including but not limited to those directly applicable to settlement discussions. The

 PI Trust will preserve the confidentiality of such claimant submissions, and shall disclose the

 contents thereof only, with the permission of the holder, to another trust established for the

 benefit of asbestos personal injury claimants pursuant to section 524(g) of the Bankruptcy Code

 or other applicable law, to such other persons as authorized by the holder, or in response to a

 valid subpoena of such materials issued by the Bankruptcy Court, a Delaware State Court or the

 United States District Court for the District of Delaware. Furthermore, the PI Trust shall provide

 counsel for the holder a copy of any such subpoena immediately upon being served. The PI

 Trust shall on its own initiative or upon request of the claimant in question take all necessary and

 appropriate steps to preserve said privileges before the Bankruptcy Court, a Delaware State

 Court or the United States District Court for the District of Delaware and before those courts

 having appellate jurisdiction related thereto. Notwithstanding anything in the foregoing to the

 contrary, with the consent of the TAC and the Futures Representative, the PI Trust may, in

 specific limited instances, disclose information, documents, or other materials reasonably



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 necessary in the PI Trust’s judgment to preserve, litigate, resolve, or settle coverage, or to

 comply with an applicable obligation under an insurance policy or insurance settlement

 agreement within the Asbestos Insurance Asset; provided, however, that the PI Trust shall take

 any and all steps reasonably feasible in its judgment to preserve the further confidentiality of

 such information, documents and materials, and prior to the disclosure of such information,

 documents or materials to a third party, the PI Trust shall receive from such third party a written

 agreement of confidentiality that (a) ensures that the information, documents and materials

 provided by the PI Trust shall be used solely by the receiving party for the purpose stated in the

 agreement and (b) prohibits any other use or further dissemination of the information, documents

 and materials by the third party. Nothing in this TDP, the Plan or the PI Trust Agreement

 expands, limits or impairs the obligation under applicable law of a claimant to respond fully to

 lawful discovery in an underlying civil action regarding his or her submission of factual

 information to the PI Trust for the purpose of obtaining compensation for asbestos-related

 injuries from the PI Trust.

                                           SECTION VII

                     General Guidelines for Liquidating and Paying Claims

        7.1     Showing Required. To establish a valid PI Trust Claim, a claimant must meet

 the requirements set forth in this TDP. The PI Trust may require the submission of X-rays, CT

 scans, laboratory tests, medical examinations or reviews, other medical evidence, or any other

 evidence to support or verify the PI Trust Claim, and may further require that medical evidence

 submitted comply with recognized medical standards regarding equipment, testing methods, and

 procedures to assure that such evidence is reliable.




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        7.2     Costs Considered. Notwithstanding any provisions of this TDP to the contrary,

 the Trustees shall always give appropriate consideration to the cost of investigating and

 uncovering invalid PI Trust Claims so that the payment of valid PI Trust Claims is not further

 impaired by such processes with respect to issues related to the validity of the medical evidence

 supporting a PI Trust Claim. The Trustees shall also have the latitude to make judgments

 regarding the amount of transaction costs to be expended by the PI Trust so that valid PI Trust

 Claims are not unduly further impaired by the costs of additional investigation. Nothing herein

 shall prevent the Trustees, in appropriate circumstances, from contesting the validity of any

 claim against the PI Trust whatever the costs, or declining to accept medical evidence from

 sources that the Trustees have determined to be unreliable pursuant to the Claims Audit Program

 described in Section 5.8 above.

        7.3     Discretion to Vary the Order and Amounts of Payments in Event of Limited

 Liquidity. Consistent with the provisions hereof and subject to the FIFO Processing and

 Liquidation Queues, the Maximum Annual Payment, the Maximum Available Payment and the

 Claims Payment Ratio requirements set forth above, the Trustees shall proceed as quickly as

 possible to liquidate valid PI Trust Claims, and shall make payments to holders of such claims in

 accordance with this TDP promptly as funds become available and as claims are liquidated,

 while maintaining sufficient resources to pay future valid claims in substantially the same

 manner.

        Because the PI Trust’s income over time remains uncertain, and decisions about

 payments must be based on estimates that cannot be done precisely, they may have to be revised

 in light of experiences over time, and there can be no guarantee of any specific level of payment

 to claimants. However, the Trustees shall use their best efforts to treat similar claims in



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 substantially the same manner, consistent with their duties as Trustees, the purposes of the PI

 Trust, the established allocation of funds to claims in Categories A and B, and the practical

 limitations imposed by the inability to predict the future with precision.

        In the event that the PI Trust faces temporary periods of limited liquidity, the Trustees

 may, with the consent of the TAC and the Futures Representative, (a) suspend the normal order

 of payment, (b) temporarily limit or suspend payments altogether, (c) offer a Reduced Payment

 Option as described in Section 2.5 above and/or (d) commence making payments on an

 installment basis, if the Trust is not currently making payments on an installment basis pursuant

 to Section 2.7 hereof.

        7.4     Punitive Damages. Except as provided below for claims asserted under the

 Alabama Wrongful Death Statute, in determining the value of any liquidated or unliquidated PI

 Trust Claim, punitive or exemplary damages, i.e., damages other than compensatory damages,

 shall not be considered or allowed, notwithstanding their availability in the tort system.

        Similarly, no punitive or exemplary damages shall be payable with respect to any claim

 litigated against the PI Trust in the tort system pursuant to Sections 5.11 above and 7.5 below.

 The only damages that may be awarded pursuant to this TDP to Alabama Claimants who are

 deceased and whose personal representatives pursue their claims only under the Alabama

 Wrongful Death Statute shall be compensatory damages determined pursuant to the statutory and

 common law of the Commonwealth of Pennsylvania, without regard to its choice of law

 principles. The choice of law provision in Section 7.4 herein applicable to any claim with

 respect to which, but for this choice of law provision, the applicable law of the Claimant’s

 Jurisdiction pursuant to Section 5.3(b)(2) is determined to be the Alabama Wrongful Death

 Statute, shall only govern the rights between the PI Trust and the claimant including, but not



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 limited to, suits in the tort system pursuant to Section 7.5, and to the extent the PI Trust seeks

 recovery from any entity that provided insurance to G-I, the Alabama Wrongful Death Statute

 shall govern.

        7.5      Suits in the Tort System. If the holder of a disputed claim disagrees with the PI

 Trust’s determination regarding the Disease Level of the claim, the claimant’s exposure history

 or the liquidated value of the claim, and if the holder has first submitted the claim to non-binding

 arbitration as provided in Section 5.10 above, the holder may file a lawsuit in the Claimant’s

 Jurisdiction as defined in Section 5.3(b)(2) above. Any such lawsuit must be filed by the

 claimant in her or her own right and name and not as a member or representative of a class, and

 no such lawsuit may be consolidated with any other lawsuit. All defenses (including, with

 respect to the PI Trust, all defenses which could have been asserted by G-I) shall be available to

 both sides at trial; however, the PI Trust may waive any defense and/or concede any issue of fact

 or law. If the claimant was alive at the time the initial pre-petition complaint was filed or on the

 date the proof of claim form was filed with the PI Trust, the case shall be treated as a personal

 injury case with all personal injury damages to be considered even if the claimant has died

 during the pendency of the claim.

        7.6      Payment of Judgments for Money Damages. If and when a claimant obtains a

 judgment in the tort system, the claim shall be placed in the FIFO Payment Queue based on the

 date on which the judgment became final. Thereafter, the claimant shall receive from the PI Trust

 an initial payment (subject to the applicable Payment Percentage, the Maximum Available

 Payment, and the Claims Payment Ratio provisions set forth above) of an amount equal to the

 greater of (i) the PI Trust’s last offer to the claimant or (ii) the award that the claimant declined in

 non-binding arbitration; provided, however, that in no event shall such payment amount exceed



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 the amount of the judgment obtained in the tort system. The claimant shall receive the balance of

 the judgment, if any, in five (5) equal installments in years six (6) through ten (10) following the

 year of the initial payment (also subject to the applicable Payment Percentage, the Maximum

 Available Payment and the Claims Payment Ratio provisions above in effect on the date of the

 payment of the subject installment).

        In the case of a claim involving Disease Levels I, II or III, the total amount paid with

 respect to such claim shall not exceed the relevant Scheduled Value for such Disease Level as set

 forth in Section 5.3(b)(3) above. In the case of a claim involving a non-malignant asbestos-related

 disease that does not attain classification under Disease Levels I, II or III, the amount payable shall

 not exceed the Scheduled Value for the Disease Level most comparable to the disease proven. In

 the case of non-Extraordinary claims involving severe asbestosis and malignancies (Disease

 Levels IV–VIII), the total amounts paid with respect to such claims shall not exceed the Maximum

 Values for such Disease Levels set forth in Section 5.3(b)(3). In the case of Extraordinary Claims,

 the total amounts paid with respect to such claims shall not exceed the maximum extraordinary

 values for such claims set forth in Section 5.4(a) above. Under no circumstances shall interest be

 paid under any statute on any judgments obtained in the tort system.

        7.7     Releases. The Trustees shall have the discretion to determine the form and

 substance of the releases to be provided to the PI Trust in order to maximize recovery for

 claimants against other tortfeasors without increasing the risk or amount of claims for

 indemnification or contribution from the PI Trust. As a condition to making any payment to a

 claimant, the PI Trust shall obtain a general, partial, or limited release as appropriate in accordance

 with the applicable state or other law. If allowed by state law, the endorsing of a check or draft for




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 payment by or on behalf of a claimant may, in the discretion of the PI Trust, constitute such a

 release.

        7.8     Third-Party Services. Nothing in this TDP shall preclude the PI Trust from

 contracting with another asbestos claims resolution organization to provide services to the PI

 Trust so long as decisions about the categorization and liquidated value of PI Trust Claims are

 based on the relevant provisions of this TDP, including the Disease Levels, Scheduled Values,

 Average Values, Maximum Values, and Medical/Exposure Criteria set forth above.

        7.9     PI Trust Disclosure of Information. Periodically, but not less often than once a

 year, the PI Trust shall make available to claimants and other interested parties, the number of

 claims by Disease Levels that have been resolved both by the Individual Review Process and by

 arbitration as well as by litigation in the tort system indicating the amounts of the awards and the

 averages of the awards by jurisdiction.

                                           SECTION VIII

                                           Miscellaneous

        8.1     Amendments. Except as otherwise provided herein, the Trustees may amend,

 modify, delete, or add to any provisions of this TDP (including, without limitation, amendments

 to conform this TDP to advances in scientific or medical knowledge or other changes in

 circumstances), provided they first obtain the consent of the TAC and the Futures Representative

 pursuant to the Consent Process set forth in Sections 5.7(b) and 6.6(b) of the PI Trust

 Agreement, except that the right to amend the Claims Payment Ratio is governed by the

 restrictions in Section 2.5 above, and the right to adjust the Payment Percentage is governed by

 Section 4.2 above. Nothing herein is intended to preclude the TAC or the Futures

 Representatives from proposing to the Trustees, in writing, amendments to this TDP. Any



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 amendment proposed by the TAC or the Futures Representatives shall remain subject to Section

 7.3 of the PI Trust Agreement.

             8.2   Severability. Should any provision contained in this TDP be determined to be

 unenforceable, such determination shall in no way limit or affect the enforceability and operative

 effect of any and all other provisions of this TDP. Should any provision contained in this TDP

 be determined to be inconsistent with or contrary to G-I’s obligations to any insurance company

 providing insurance coverage to G-I in respect of claims for personal injury based on exposure to

 an asbestos-containing product or to conduct for which G-I has legal responsibility, the PI Trust

 with the consent of the TAC and the Futures Representative may amend this TDP and/or the PI

 Trust Agreement to make the provisions of either or both documents consistent with the duties

 and obligations of G-I to said insurance company.

             8.3   Governing Law. Except for purposes of determining the liquidated value of any

 PI Trust Claim, administration of this TDP shall be governed by, and construed in accordance

 with, the laws of the State of Delaware. The law governing the liquidation of PI Trust Claims in

 the case of Individual Review, arbitration or litigation in the tort system shall be the law of the

 Claimant’s Jurisdiction as described in Section 5.3(b)(2) above.




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